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ROBINSON BROG LEINWAND GREENE
GENOVESE & GLUCK P.C.
875 Third Avenue, 9th Floor
New York, New York 10022-0123
Tel. No.: 212-603-6300
A. Mitchell Greene
Attorneys for the Debtors
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
In re:
                                                                    Chapter 11
EAST VILLAGE PROPERTIES, LLC,
et al.1                                                             Case No.: 17-22453 (RDD)

                                       Debtors.                     (Jointly Administered)
------------------------------------------------------X

               SUPPLEMENTAL DECLARATION OF A. MITCHELL GREENE
               PURSUANT TO (I) ORDER APPROVING AND AUTHORIZING
                 RETENTION OF ROBINSON BROG LEINWAND GREENE
                GENOVESE & GLUCK P.C. AND BANKRUPTCY RULE 2014

         A. Mitchell Greene, pursuant to 28 U.S.C. § 1746, hereby declare that the following is

true to the best of my knowledge, information, and belief:


                    1.       I am a member of the firm Robinson Brog Leinwand Green Genovese

& Gluck P.C. (the “RBL Firm”), which maintains offices for the practice of law at 875 Third

Avenue, 9th Floor, New York, New York 10022. I am admitted in, practicing in, and a member

in good standing of the bar of the State of New York and the bar of the United States District

Court for the Southern and Eastern Districts of New York. I submit this supplemental

declaration notifying of the RBL Firm’s upcoming rate increases effective February 1, 2018, in


1
 The Debtors in these chapter 11 cases and the last four digits of each Debtors’ taxpayer identification number are
as follows: East Village Properties LLC (1437); 223 East 5th Street LLC (8999); 229 East 5th Street LLC (8348);
231 East 5th Street LLC (4013); 233 East 5th Street LLC (8999); 235 East 5th Street LLC (1702); 228 East 6th Street
LLC (2965); 66 East 7th Street LLC (1812); 27 St Marks Place LLC (1789); 334 East 9th Street LLC (7903); 253
East 10th Street LLC (4317); 325 East 12th Street LLC (0625); 327 East 12th Street LLC (7195); 329 East 12th Street
LLC (0475); 510 East 12th Street LLC (1469); and 514 East 12th Street LLC (7232).

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compliance with the notice requirements set forth in the Order Authorizing the Employment and

Retention of the RBL Firm as Attorneys to the Debtors (the “RBL Retention Order”). The

Application was supported by my declaration (the “Greene Declaration”). Except as otherwise

indicated, I have personal knowledge of the matters set forth herein and, if called as a witness

would testify competently thereto.

                    2.         I submit this declaration in accordance with the RBL Retention Order

which provided that the RBL Firm shall, prior to any increases in its rates, file a supplemental

declaration with the Court and provide ten business days’ notice to the United States Trustee and

other parties in interest, which supplemental declaration shall explain the basis for the requested

rate increases in accordance with section 330(a)(3)(F) of the Bankruptcy Code.

                     3.        As set forth in the Greene Declaration, the RBL Firm’s hourly rates are

reviewed annually as part of the RBL Firm’s ordinary business practices and rate adjustments, if

any, are implemented at the beginning of the new year or at such later date as required to comply

with existing orders authorizing the RBL Firm’s retention. Following its recent review, the RBL

Firm has determined that effective February 1, 2018, the hourly rates will range from: $475 to

$700 for partners; $485 to $550 for counsel; $250 to $450 for associates; and $175 to $250 for

paralegals and support staff. These adjustments reflect our continuing goal to provide high

quality and cost- efficient services to our clients.

                     4.        When assessing whether or not to adjust its market rates, the RBL Firm

obtains information from public sources that provide general information regarding peer firms.

Based upon that information, and having been directly involved in a multitude of cases in the

Southern and Eastern Districts of New York, the RBL Firm is knowledgeable about, and familiar

with the rates that are charged by other firms of similar reputation, quality and expertise; and


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working in the same or similar cases in which the RBL Firm is involved. The RBL Firm’s rates

are comparable to or lower than such other New York City based firms’ rates.


                    5.        The RBL Firm submits that this increase is reasonable pursuant to

section 330(a)(3)(F) of the Bankruptcy Code as this is applied firm–wide, and the new rate is

comparable to those in similar circumstances by similarly skilled professionals. The RBL Firm is

providing not less than ten business days’ notice to the parties provided for in the RBL Retention

Order before the new rates take effect.


                         6.   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that

   the foregoing is true and correct.

   Dated: January 25, 2018
   New York, New York



                                                         /s/ A. Mitchell Greene
                                                         A. MITCHELL GREENE




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